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                                                                                                                                                EXHIBIT A
                              SCHEDULE OF RECEIPTS AND DISBURSEMENTS
                 FOR THE PERIOD BEGINNING :                     May 1, 2014                                    AND ENDING :              May 31, 2014

     Name of Debtor: TRILLION PARTNERS, INC.                                                                   Case Number:              11-cv-01787-MSK-MJW

                                                                                                                   CURRENT
                                                                                                                    MONTH

     1. FUNDS AT BEGINNING OF PERIOD                                                                                     161,828.12      (a)
     1. RECEIPTS:
      A. Customer Collections at Trillion                                                                                            -
      B. Customer Collections in Lockbox                                                                                             -
      C. Received from Secured Lenders                                                                                               -
      D. Other Receipts                                                                                                              -

     2. TOTAL RECEIPTS                                                                                                               -

     TOTAL FUNDS AVAILABLE FOR
        OPERATIONS                                                                                                       161,828.12

     3. DISBURSEMENTS
      A    Advertising                                                                                                            -
      B    Bank /Credit Card Charges                                                                                         140.20
      C    Contract Labor                                                                                                         -
      D    Fixed Asset Payments                                                                                                   -
      E    Insurance                                                                                                              -
      F    Inventory Payments                                                                                                     -
      G    Leases                                                                                                                 -
      H    Circuits                                                                                                               -
       I   Office Supplies                                                                                                        -
      J    Payroll - Net                                                                                                          -
      K    Professional Fees                                                                                                      -
     K1            Alvarez & Marsal                                                                                               -
     K2            McElroy, Deutsch, Mulvaney & Carpenter                                                                         -
     K3            Horowwitz & Burnett, P.C.                                                                                      -
     K4            Wiley Rein                                                                                                     -
     K5            Greg Vogt                                                                                                      -
     K6            Ford & Harrison                                                                                                -
     K7            Real Estate Tax Consultants                                                                                    -
     K8            Winstead P.C.                                                                                                  -
     K9            Grimshaw & Haring                                                                                              -
     K10           Ewell, Bickham, Brown & Rabb L                                                                                 -
     K11           Smith,Angderson,Blount,Dorsett                                                                                 -
     K12           Carianne Weston                                                                                                -
     K13           Madison Sproul Partners                                                                                        -
     K14           Alvarez & Marsal Taxand, LLC                                                                                   -
     K15           Brown Rudnick                                                                                                  -
     K16           Lerman Senter                                                                                                  -
     K17           Burr & Foreman                                                                                                 -
      L    Rent                                                                                                                   -
      M    Repairs & Maintenance                                                                                                  -
      N    Secured Creditor Payments                                                                                              -
      O    Taxes Paid - Payroll                                                                                                   -
      P    Taxes Paid - Sales & Use                                                                                               -
      Q    Taxes Paid - Other                                                                                                     -
      R    Telephone                                                                                                              -
      S    Travel & Entertainment                                                                                                 -
      T    Utilities                                                                                                              -
      U    Vehicle Expenses                                                                                                       -
     U1 Bear Reimbursements                                                                                                       -
     U2 Payroll Contributions                                                                                                     -
     U3 Transfer to Escrow Account on behalf of Secured Creditors                                                                 -
     U4 Disbursement from Vectra Bank to Trillion
     U5 Disbursement from US Bank to Vectra                                                                                       -
      V    Other Operating Expenses                                                                                               -
      W    Transfer to Receivership Wealth Management Account                                                                     -
      X    Transfer to TX Communications                                                                                          -
     Excess prior months checks cleared over current month checks uncleared                                                       -
     4. TOTAL DISBURSEMENTS (Sum of 3A thru V)                                                                               140.20
     5. NET CASH FLOW FOR PERIOD                                                                                            (140.20)
     7. ENDING BALANCE (Line 4 Minus Line 6)                                                                             161,687.92 ( c )
                                                                              Check                                              -
                                                                                                                               (0.00)
     I declare under penalty or perjury that this statement and the accompanying documents and reports are true
     and correct to the best of my knowledge and belief.

           This 19th day of June, 2014.                                               s/Byron P. Smyl
                                                                                                                                         (Signature)

     ( a ) This number is carried forward from last month's report. For the first report only, this number will be the
           balance as of the receivership date.
     ( b ) This figure will not change from month to month. It is always the amount of funds on hand as of the date of
           the receivership
     ( c ) These two amounts will always be the same if form is completed correctly.



                                                                             MOR-16
